           1:19-cv-01133-SEM-EIL     # 44       Filed: 09/16/19   Page 1 of 13
                                                                                            E-FILED
                                                           Monday, 16 September, 2019 10:45:50 AM
                                                                       Clerk, U.S. District Court, ILCD


                    UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF ILLINOIS
                          PEORIA DIVISION


ANTHONY GAY,                                     )
   Plaintiff,                                    )
                                                 )
      v.                                         )       Case No. 1:19-cv-01133-CSB
                                                 )
STATE OF ILLINOIS, et al.,                       )
    Defendants.                                  )

                                       ORDER

      Plaintiff, Anthony Gay, filed a complaint [1] under 42 U.S.C. § 1983,

alleging that Defendants State of Illinois, John Baldwin, Sylvia Butler, Jamie

Chess, Melvin Hinton, Pierre Nunez, William Puga, Shane Reister, Kelly

Ann Renzi, Jeff Sims, Wexford Health Sources, Incorporated (“Wexford”),

and five individuals Plaintiff identified as John Doe 1 to 5 violated his

constitutional rights during his incarceration in the Illinois Department of

Corrections (“IDOC”).1




1 Plaintiff has since been released from IDOC custody.

                                            1
         1:19-cv-01133-SEM-EIL     # 44       Filed: 09/16/19   Page 2 of 13




      Defendants State of Illinois, Baldwin, Butler, Chess, Hinton, Reister,

and Sims move to dismiss Plaintiff’s complaint under Rule 12(b)(6) of the

Federal Rules of Civil Procedure.

                        I. STANDARD OF REVIEW

      Under Rule 8(a), a complaint must contain a “short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R.

Civ. P. 8(a)(2). A complaint must assert “enough facts to state a claim to

relief that is plausible on its face” to survive a motion to dismiss under

Rule 12(b)(6). Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). When

considering a motion to dismiss, the Court construes the complaint in the

light most favorable to the plaintiff, accepting all well-pleaded allegations

as true and interpreting all reasonable inferences in the plaintiff’s favor.

Tamayo v. Blagojevich, 526 F.3d 1074, 1081 (7th Cir. 2008).

      “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009); see also Engel v. Buchan, 710 F.3d 698, 709 (7th Cir. 2013)


                                          2
         1:19-cv-01133-SEM-EIL    # 44       Filed: 09/16/19   Page 3 of 13




(interpreting the plausibility standard to mean that the plaintiff “must give

enough details about the subject-matter of the case to present a story that

holds together”) (internal quotation marks omitted).

                                 II. ANALYSIS

      The Court limits its consideration to the following two claims: (1)

Plaintiff’s Eighth Amendment claim against Defendants Baldwin, Butler,

Chess, Hinton, Reister, and Sims and (2) Plaintiff’s discrimination claim

against Defendants State of Illinois and Baldwin that Plaintiff alleges under

the Americans with Disabilities Act (“ADA”) and the Rehabilitation Act.

                      A. Plaintiff’s Overarching Claim

      The crux of Plaintiff’s claims against Defendants concerns the lack of

mental health care within IDOC and placement in solitary confinement,

which he contends accelerated the deterioration of his mental wellbeing.

Plaintiff elaborates that he suffers from a borderline personality disorder.

After his imprisonment in 1994, he engaged in horrific acts of self-

mutilation and acted out by throwing feces and urine at prison staff.

Plaintiff claims that instead of recognizing Plaintiff’s behavior as


                                         3
         1:19-cv-01133-SEM-EIL   # 44       Filed: 09/16/19   Page 4 of 13




manifestations of mental illness and providing him appropriate treatment,

Defendants issued disciplinary tickets that resulted in his continued

solitary confinement for approximately two decades. These circumstances

deprived Plaintiff of human contact, programming, mental health care, and

activities. Plaintiff was also criminally charged and convicted of assaulting

prison staff, which extended his initial seven-year prison sentence an

additional fifteen years. Plaintiff seeks compensatory, punitive, and

nominal damages as well as costs and attorneys’ fees.

                           B. Eighth Amendment

      As mentioned, Plaintiff’s Eighth Amendment deliberate indifference

claim proceeds against the following Defendants, who are either current or

former IDOC employees: Baldwin, former IDOC director; Butler, mental

health director of Menard Correctional Center; Chess, mental health

director at Dixon Correctional Center; Hinton, acting statewide mental

health supervisor; Reister, southern region psychology supervisor; and

Sims, central region psychology supervisor.




                                        4
         1:19-cv-01133-SEM-EIL    # 44       Filed: 09/16/19   Page 5 of 13




      Plaintiff claims that collectively, “Defendants knew that [Plaintiff’s]

serious medical needs were not being treated … and that the isolation of

solitary confinement would exacerbate his conditions and cause him

further damage over time.” (ECF 1: p. 18:43.) Plaintiff claims further that

despite what they knew, Defendants neither transferred Plaintiff to a

facility where he could receive effective treatment nor improved the

conditions of his confinement. Plaintiff adds that attorneys representing

Baldwin in the pending case of Rasho v. Baldwin, 07-cv-1298 (C.D. Ill. Nov.

7, 2007) (Mihm, J.), have essentially admitted that “a handful of IDOC

prisoners, which included [Plaintiff], … could not receive appropriate

psychiatric care within IDOC ….” (Id. p. 15:36.)

      In their motion to dismiss, Defendants contend that Plaintiff does not

provide facts to establish their knowledge of Plaintiff’s specific

circumstances and Rasho offers no support because Defendants Butler,

Chess, Hinton, Reister, and Sims were not parties in that case, and the

plaintiff in Rasho sued Baldwin in his official capacity.




                                         5
         1:19-cv-01133-SEM-EIL    # 44       Filed: 09/16/19   Page 6 of 13




      Despite Defendants’ focus on Plaintiff’s specific circumstances, the

Court construes Plaintiff’s allegations as asserting a constitutional claim

regarding a fundamental deficiency within IDOC—namely, the lack of

appropriate mental health care, which Plaintiff alleges Defendants knew

was deficient. See Mitchell v. Kallas, 895 F.3d 492, 496 (7th Cir. 2018) (“Prison

officials thus have a constitutional duty to provide inmates with the care

they require for their serious medical needs.”). According to Plaintiff,

DOC’s refusal to provide appropriate care or to make reasonable

accommodations worsened his physical and psychological health, which in

turn caused his erratic behavior toward prison staff.

      Based on Plaintiff’s alleged facts, a jury could reasonably find that

Defendants Baldwin, Butler, Chess, Hinton, Reister, and Sims knew of this

alleged systemic deficiency given their respective senior positions within

IDOC. See Antonelli v. Sheahan, 81 F. 3d 1422, 1428-29 (7th Cir. 1996)

(concluding that a sheriff and county director of corrections can be

expected to know of or participate in creating a systemic situation); see also

Smith v. Dart, 803 F.3d 304, 309 n.2 (7th Cir. 2015) (“[T]he personal


                                         6
          1:19-cv-01133-SEM-EIL     # 44       Filed: 09/16/19   Page 7 of 13




involvement of senior jail officials … can be inferred at the motion to

dismiss stage, where, as here, the plaintiff alleges ‘potentially systemic,’ as

opposed to ‘clearly localized,’ constitutional violations.”). Therefore, the

Court concludes that at this stage of the proceedings, Plaintiff states an

Eighth Amendment deliberate indifference claim against Defendants

Baldwin, Butler, Chess, Hinton, Reister, and Sims.

    C. The Americans with Disabilities Act and the Rehabilitation Act

      Plaintiff also alleges that Defendants State of Illinois and Baldwin, in

his official capacity, discriminated against Plaintiff based on his disability

in violation of the ADA and the Rehabilitation Act.

      “Title II of the [ADA], 42 U.S.C. § 12131 et seq., and section 504 of the

Rehabilitation Act, 29 U.S.C. § 794, both . . . create federal remedies for

disability discrimination by state and local government agencies ….” Reed

v. Illinois, 808 F.3d 1103, 1107 (7th Cir. 2015). However, the “relief

available” to a plaintiff under the ADA and Rehabilitation Act “is

coextensive.” Jaros v. Ill. Dep’t of Corr., 684 F.3d 667, 671 (7th Cir. 2012).




                                           7
          1:19-cv-01133-SEM-EIL     # 44       Filed: 09/16/19   Page 8 of 13




      The Court confines its analysis to Plaintiff’s Rehabilitation Act claim.

Other than some minor differences that are not relevant in this case, “the

analysis governing each statute is the same except that the Rehabilitation

Act includes as an additional element the receipt of federal funds, which all

states accept for their prisons.” Id. See Jaros, 684 F.3d at 672 n.5. (“Illinois

has waived its immunity from suits for damages under the Rehabilitation

Act as a condition of its receipt of federal funds.”).

      “As a practical matter, then, [courts] may dispense with the ADA and

the thorny question of sovereign immunity, since [a plaintiff] can have but

one recovery.” Id. at 672 (citing Duran v. Town of Cicero, 653 F.3d 632, 639

(7th Cir. 2011) (plaintiffs may have but one recovery); Wilson v. Sood, 727 F.

App’x 220, 221-22 (7th Cir. 2018) (dismissal of ADA claim had no effect on

scope of remedy because Rehabilitation Act claim remained).

      “To state a claim under the Rehabilitation Act, [a plaintiff] need only

allege that (1) he is a qualified person (2) with a disability[,] and (3) the

Department of Corrections denied him access to a program or activity

because of his disability.” Id. at 672. To be a qualified person under the


                                           8
         1:19-cv-01133-SEM-EIL     # 44       Filed: 09/16/19   Page 9 of 13




Rehabilitation Act, Plaintiff “must meet ‘the essential eligibility

requirements for the receipt of services or the participation in programs or

activities provided by a public entity.’” Johnson v. Randle, 451 F. App’x 597,

600 (7th Cir. 2011) (quoting 42 U.S.C. § 12131(2)).

      Defendants contend that Plaintiff’s complaint fails to allege enough

facts to satisfy the first and third prongs of his burden. The Court

disagrees.

      In Plaintiff’s complaint, he alleges that despite his known and visible

mental health illness, Defendants discriminated against him by denying

access to mental health services outside of the prison yet Defendants

provided outside medical services to other inmates with physical injuries

and illnesses. (1: p. 20:62.) Plaintiff alleges further that Defendants failed to

reasonably accommodate his disability by providing inpatient psychiatric

therapy, opting instead, to keep him isolated long term, which deprived

him access to services, programs, activities, exercise, recreation, and human

interaction. The Court concludes that Plaintiff’s allegations are sufficient to

state a claim under the Rehabilitation Act. See Andrews v. Rauner, 2018 WL


                                          9
         1:19-cv-01133-SEM-EIL         # 44        Filed: 09/16/19   Page 10 of 13




3748401, at *5 (C.D. Ill. August 6, 2018) (concluding that the plaintiff stated

a claim under the Rehabilitation Act by alleging that State Defendants

denied her access to outside hospitalization but allowed inmates with

physical injuries or illnesses to receive private care and instead, placed her

in solitary confinement due to her mental disability).

      As mentioned, Plaintiff names Defendants State of Illinois and also

Baldwin, in his official capacity. However, “a suit against a state official in

his or her official capacity is not a suit against the official but rather is a suit

against the official’s office. Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71

(1989). “As such, it is no different from a suit against the State itself.”

(citations omitted). Id. Accordingly, the Court sua sponte dismisses the State

of Illinois as a party in this case.

                            D. Statute of Limitations

      Plaintiff filed his complaint on October 28, 2016 [1]. Defendants

contend that the two-year statute of limitations applicable to § 1983 claims

bars all of Plaintiff’s claims arising before October 28, 2016. See Woods v. Ill.

Dep’t of Children & Family Servs., 710 F.3d 762, 768 (7th Cir. 2013) (“To sum


                                              10
         1:19-cv-01133-SEM-EIL   # 44        Filed: 09/16/19   Page 11 of 13




up, we reiterate our holding that the limitations period applicable to all §

1983 claims brought in Illinois is two years ….” (emphasis in original)).

Plaintiff responds that the continuing violation doctrine tolls the two-year

statute of limitations period typically imposed on § 1983 claims.

      “The continuing violation doctrine is … applicable when the state

actor has a policy or practice that brings with it a fresh violation each day.”

Tobey v. Chibucos, 890 F.3d 634, 646 (7th Cir. 2018) (quoting Savory v. Lyons,

469 F.3d 667, 672 (7th Cir. 2006)). The critical inquiry to determine whether

the continuing violation doctrine applies is whether the constitutional

deprivation “was a fresh act each day, or whether it was a discrete act that

took place upon the first [instance] that merely had lingering

consequences.” Savory, 469 F.3d at 673.

      In this regard, the Court finds the Seventh Circuit’s opinion in Heard

v. Sheahan instructive. 253 F.3d 316 (7th Cir. 2001). In Heard, a prisoner

discovered a prominent bulge in his groin. Id. at 317. A doctor diagnosed

him with a ruptured hernia and recommended surgery, but the jail refused

to act on the recommendation. Id. The prisoner filed suit more than two


                                        11
         1:19-cv-01133-SEM-EIL     # 44        Filed: 09/16/19   Page 12 of 13




years after he discovered he needed medical attention. Id. In discussing

whether the continuing violation doctrine applied to the prisoner’s claim,

the Seventh Circuit stated:

                    [The jail’s refusal to treat the prisoner’s
              condition] continued for as long as the defendants
              had the power to do something about his condition,
              which is to say until he left the jail. Every day that
              they prolonged his agony by not treating his painful
              condition marked a fresh infliction of punishment
              that caused the statute of limitations to start
              running anew. A series of wrongful acts creates a
              series of claims.

Id. at 318.

      Here, Plaintiff alleges that for about twenty years, Defendants denied

him mental-health care that caused him physical and psychological harm.

Although further discovery may prove otherwise, at this stage of the

proceedings, the Court is satisfied that the continuing violation doctrine

tolls Plaintiff’s claims against Defendants.

IT IS THEREFORE ORDERED:

      1) The Court DENIES Defendants’ motion to dismiss Plaintiff’s
         complaint [37].

      2) The Court sua sponte dismisses the State of Illinois as a party in

                                          12
        1:19-cv-01133-SEM-EIL   # 44        Filed: 09/16/19   Page 13 of 13




        these proceedings. The Court directs the Clerk of the Court to
        terminate the State of Illinois as a party in this case.

     3) The Court refers this case to Magistrate Judge Eric I. Long for
        further proceedings.

Entered September 16, 2019.



                           s/ Colin S. Bruce
              _________________________________________
                           COLIN S. BRUCE
                   UNITED STATES DISTRICT JUDGE




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